














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS


								




NO. PD-0890-12





RUBEN ALEJANDRO REYES, Appellant



v.



THE STATE OF TEXAS






ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW

FROM THE NINTH COURT OF APPEALS

 MONTGOMERY COUNTY




	Per curiam.  Keasler and Hervey, JJ., dissent.


ORDER


	The petition for discretionary review violates Rule of Appellate Procedure 68.4(i),
68.5, because it contains an incomplete copy of the opinion of the court of appeals, and
the petition exceeds 15 pages.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition and copies must be
filed in the Court of Criminal Appeals within thirty days after the date of this order.

Filed:	October 31, 2012

Do Not Publish


